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                            EXHIBIT 4
                                                                                                      Case 1:03-md-01570-GBD-SN                                   Document 9716-4                    Filed 04/23/24            Page 2 of 2
                                                                                                                                                         EXHIBIT C
                                                                                                                                  PUTATIVE FUNCTIONAL EQUIVALENT CLAIMANTS UNDER THE ATA

            Personal Representative                                     Claimant                                                                                  9/11 Decedent                                                       Claim Information                                          Solatium Damages


                                           Claimant                                               Nationality on                                                                   Nationality on    Date of                                       Amendments &                                              Prior
    #   First   Middle   Last    Suffix                    Middle     Claimant Last     Suffix                            First         Middle             Last           Suffix                               9/11 Site    Case    Complaint                              Relationship    Documentation             Amount   Treble
                                             First                                                    9/11                                                                             9/11          Death                                          Substitutions                                           Award
                                          Joan        Ruth          Puwalski                     United States     Steven          J.            Bates                                                        NY           03-cv-               1:02-cv-01616, 77, at   Fiancé
1                                                                                                                                                                                  United States    9/11/2001 (Other)      9849                 P2693
                                                                                                                                                                                                                           03-cv-               1:02-cv-01616, 26,
2                                         Daniel      A.            Walisiak                     Unknown           Susan           L.            Blair                             United States    9/11/2001 NY (WTC)     9849                 29, at 2679             Fiancé
                                                                                                                                                                                                                           03-cv-               1:02-cv-01616, 26,
3                                         Anthony                   Bengivenga                   Unknown           Lydia                         Bravo                             United States    9/11/2001 NY (WTC)     9849                 29, at 1864             Fiancé
                                          Erin                      Ryan                         Unknown           Michael         R.            Canty                                                                     03-cv-               1:02-cv-01616, 155,     Fiancé
4                                                                                                                                                                                  United States    9/11/2001 NY (WTC)     9849                 at P2845
                                                                                                                                                                                                              NY           03-cv-               1:02-cv-01616, 77, at
5                                         Teresa      A.            Lanzisero                    Unknown           Thomas          A.            Casoria                           United States    9/11/2001 (Other)      9849                 P2650                   Fiancé
                                                                                                                                                                                                                                                1:02-cv-01616, 313,
                                                                                                                                                                                                              NY           03-cv-               at P4627, 8393-1, at
6                                         Francesca   M.            Jerez                        Unknown           Robert          D.            Cirri                  Sr.        United States    9/11/2001 (Other)      9849                 69, 8487                Step-Child
                                                                                                                                                                                                                           03-cv-               1:02-cv-01616, 26,
7                                         Angela      M.            Gutermuth                    Unknown           Christopher     More          Dincuff                           United States    9/11/2001 NY (WTC)     9849                 29, at 3028             Fiancé
                                          Cheryl                    Olivieri                     Unknown           Paul            R.            Eckna                                                                     03-cv-               1:02-cv-01616, 155,     Fiancé
8                                                                                                                                                                                  United States    9/11/2001 NY (WTC)     9849                 at P2883
                                                                                                                                                                                                                           03-cv-               1:02-cv-01616, 313,
9                                         David                     Konigsberg                   Unknown           Barbara                       Etzold                            United States    9/11/2001 NY (WTC)     9849                 at P4641                Fiancé
                                                                                                                                                                                                                           03-cv-               1:02-cv-01616, 77, at
10                                        Karen       M.            Carlucci                     Unknown           Peter           Christopher   Frank                             United States    9/11/2001 NY (WTC)     9849                 P2555                   Fiancé
                                                                                                                                                                                                                           03-cv-
11                                        Brian       Thomas        Clendenin         Jr.        Unknown           James           Andrew        Gadiel                            United States    9/11/2001 NY (WTC)     9849                 8679-1, at 145, 8696    Step-sibling
                                                                                                                                                                                                                           03-cv-
12                                        Janice      Warner        Gadiel                       Unknown           James           Andrew        Gadiel                            United States    9/11/2001 NY (WTC)     9849                 8679-1, at 143, 8696    Step-parent
                                                                                                                                                                                                              NY           03-cv-               1:02-cv-01616, 26,
13                                        Maria                     Acosta                       Unknown           Paul            John          Gill                              United States    9/11/2001 (Other)      9849                 29, at 3282             Domestic Partner
                                                                                                                                                                                                                           03-cv-               1:02-cv-01616, 305,
14                                        Lucy        A.            Aita                         Unknown           Paul            W.            Innella                           United States    9/11/2001 NY (WTC)     9849                 at P4334                Fiancé
                                          Richard     A.            Pecorella                    Unknown           Karen           S.            Juday                                                                     03-cv-               1:02-cv-01616, 77, at   Fiancé
15                                                                                                                                                                                 United States    9/11/2001 NY (WTC)     9849                 P2683

                                                                                                                                                                                                                           03-cv-               1:03-cv-9849, HAND
16                                        Melissa                   White                        Unknown           Ryan            Ashley        Kohart                            United States    9/11/2001 NY (WTC)     9849                 FILED, at P5129         Fiancé
                                          Anthony                   Roman                        Unknown           Jennifer        Lynn          Mazzotta                                                                  03-cv-               1:02-cv-01616, 232,     Fiancé
17                                                                                                                                                                                 United States    9/11/2001 NY (WTC)     9849                 at P4073
                                                                                                                                                                                                                                                1:03-md-01570, 432,
                                                                                                                                                                                                                           03-cv-               at P5422, 8393-1, at
18                                        Annie                     Guerrero                     Unknown           Roland                        Pacheco                           United States    9/11/2001 NY (WTC)     9849                 72, 8487                Fiancé
                                          Nicholas                  Monaco                       Unknown           Ricardo         J.            Quinn                                                                     03-cv-               1:02-cv-01616, 313,     Step-Child
19                                                                                                                                                                                 United States    9/11/2001 NY (WTC)     9849                 at P4705
                                                                                                                                                                                                              PA           03-cv-               1:15-CV-09903, 256,
20                                        Ian         L.            Pescaia                      United States     Christine       Ann           Snyder                            United States    9/11/2001 (UA93)       9849                 at 11                   Domestic Partner
                                                                                                                                                                                                              NY           03-cv-               1:02-cv-01616, 26,
21                                        Karen                     Dallavalle                   United States     Kenneth         F.            Tietjen                           United States    9/11/2001 (Other)      9849                 29, at 4550             Fiancé
                                                                                                                                                                                                                                                1:02-cv-01616, 313,
                                                                                                                                                                                                              NY           03-cv-               at P4764, 8393-1, at
22                                        Debra       Marie         Johnson                      United States     David           J.            Williams                          United States    9/11/2001 (Other)      9849                 16, 8487                Domestic Partner




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